     16-10433-tmd Doc#9 Filed 05/04/16 Entered 05/04/16 14:58:51 Main Document Pg 1 of 31

 Fill in this information to identify the case and this filing:

                 San Gabriel Resources L.L.C.
 Debtor Name __________________________________________________________________
                                            Western                               Texas
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                                 (State)
 Case number (If known):    16-10433-tmd
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         #    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         #    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         #    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         #    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         #    Schedule H: Codebtors (Official Form 206H)

         #    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         x
         #                      206 E/F and 206Sum
              Amended Schedule ____


         #    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         #    Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.

                            5/4/2016
        Executed on ______________                          "         /s/ Steven R. Foy
                                                                _________________________________________________________________________
                           MM / DD / YYYY                         Signature of individual signing on behalf of debtor


                                                                  Steven R. Foy
                                                                  ________________________________________________________________________
                                                                  Printed name

                                                                  President
                                                                  ______________________________________
                                                                  Position or relationship to debtor



Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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   Fill in this information to identify the case:

   Debtor
                    San Gabriel Resources L.L.C.
                    __________________________________________________________________
                                                Western
   United States Bankruptcy Court for the: ______________________ District of __________
                                                                                                  Texas
                                                                                              (State)
   Case number      16-10433-tmd
                    ___________________________________________
    (If known)

                                                                                                                                                  Ï Check if this is an
                                                                                                                                                  "
                                                                                                                                                      amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
    "
    Ï No. Go to Part 2.
    "    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                           "   Contingent
                                                                          "   Unliquidated
    ___________________________________________                           "   Disputed
    Date or dates debt was incurred                                       Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                           " No
                                                                          " Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                           "   Contingent
                                                                          "   Unliquidated
    ___________________________________________                           "   Disputed
    Date or dates debt was incurred                                       Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                           " No
                                                                          " Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                           "   Contingent
                                                                          "   Unliquidated
    ___________________________________________                           "   Disputed
    Date or dates debt was incurred                                       Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                           " No
                                                                          " Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  26
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                                        L.L.C.                                                16-10433-tmd Pg 3 of 31
  Debtor    _______________________________________________________   Case number (if known)_____________________________________
               Name


 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:                 82,607.75
                                                                 Check all that apply.                                     $________________________________
    American  Safety  Services Inc. d/b/a
    ____________________________________________________________
      American Production Services                               " Contingent
                                                                 " Unliquidated
     P.O. Box 12874
    ____________________________________________________________ " Disputed
     Odessa, TX 79768-2874
    ____________________________________________________________                                 Trade Debt
                                                                           Basis for the claim: ________________________

                                               12/2013 - 10/2014           Is the claim subject to offset?
    Date or dates debt was incurred            ___________________
                                                                           "5 No
    Last 4 digits of account number            ___ ___ ___ ___             "   Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:        10,000.00
                                                                 Check all that apply.                                     $________________________________
      Anderson Perforating, Ltd.
    ____________________________________________________________
                                                                           "   Contingent
                                                                           "   Unliquidated
    ____________________________________________________________           "   Disputed
      Albany, TX 76430-8030
    ____________________________________________________________
                                                                                                 Trade Debt
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred             12/2013 - 10/2014
                                               ___________________         Is the claim subject to offset?
                                                                           "5 No
    Last 4 digits of account number            ___ ___ ___ ___             "   Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:        287,280.22
                                                                                                                           $________________________________
      Apollo Perforators, Inc.                                             Check all that apply.
    ____________________________________________________________
                                                                           "   Contingent
       P.O. Box 12940                                                      "   Unliquidated
    ____________________________________________________________           "   Disputed
       Odessa, TX 79768-2940
    ____________________________________________________________
                                                                           Basis for the claim: Trade Debt
                                                                                                ________________________
                                                12/2013 - 10/2014          Is the claim subject to offset?
    Date or dates debt was incurred            ___________________
                                                                           "5 No
    Last 4 digits of account number            ___ ___ ___ ___             "   Yes

3.4 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:                   24,425.88
                                                                                                                           $________________________________
      Arnold Oil Company Fuels, LLC
    ____________________________________________________________
                                                                 Check all that apply.
                                                                           "   Contingent
      5909 Burleson Rd.                                                    "   Unliquidated
    ____________________________________________________________           "   Disputed
      Austin, TX 78744
    ____________________________________________________________                                 Trade Debt
                                                                           Basis for the claim: ________________________

                                                12/2013 - 10/2014          Is the claim subject to offset?
    Date or dates debt was incurred            ___________________
                                                                           "5 No
    Last 4 digits of account number            ___ ___ ___ ___             "   Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:       383,340.73
      BDA Equipment Rental, LLC                                            Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                           "   Contingent
       P.O. Box 1439                                                       "   Unliquidated
    ____________________________________________________________
                                                                           "   Disputed
       Monahans, TX 79756-1439
    ____________________________________________________________
                                                                                                Trade Debt
                                                                           Basis for the claim: ________________________
                                                12/2013 - 10/2014          Is the claim subject to offset?
    Date or dates debt was incurred            ___________________
                                                                           "5 No
    Last 4 digits of account number            ___ ___ ___ ___             "   Yes

3.6 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:                1,407,598.18
                                                                                                                           $________________________________
      GCI, Inc., d/b/a Sweatt Construction
    ____________________________________________________________
                                                                 Check all that apply.
                                                                           "   Contingent
       720 S. Texaco Rd.                                                   "   Unliquidated
    ____________________________________________________________
                                                                           "   Disputed
       Hobbs, NM 88240
    ____________________________________________________________
                                                                                                Trade Debt
                                                                           Basis for the claim: ________________________
                                                12/2013 - 10/2014XXX Is the claim subject to offset?
    Date or dates debt was incurred            ___________________
                                                                     "5 No
    Last 4 digits of account number            ___ ___ ___ ___             "   Yes



    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                    2 of ___
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                          Resources LLC                                                      Document Pg 4 of 31
  Debtor    _______________________________________________________  Case number (if known)_____________________________________
                  Name



 Rctv 3<      Cffkvkqpcn Rcig


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  7 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                             34,539.69
                                                                                                                      $________________________________
       Gel Technologies LLC
     ___________________________________________________________      #   Contingent
                                                                      #   Unliquidated
           P.O. Box 51438                                             #   Disputed
     ___________________________________________________________      #   Liquidated and neither contingent nor
       Midland, TX 79710-1438
     ___________________________________________________________          disputed
                                                                                             Trade Debt
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred          12/2013 - 10/2014
                                              ___________________     Is the claim subject to offset?
                                                                      5
                                                                      #   No
     Last 4 digits of account number          ___ ___ ___ ___         #   Yes


  8 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:         125,636.88
                                                                 Check all that apply.                                $________________________________
       Grady's Western Supply Co., Inc.
     ___________________________________________________________
                                                                      #   Contingent
                                                                      #   Unliquidated
       P.O. Box 1287                                                  #   Disputed
     ___________________________________________________________
       McCamey, TX 79752-1287
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred          12/2013 - 10/2014
                                              ___________________     Is the claim subject to offset?
                                                                      5
                                                                      #   No
     Last 4 digits of account number          ___ ___ ___ ___         #   Yes


  9 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:         612,296.82
       H&H Flowback Services, LLC                                     Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                      #   Contingent
       506 Crane                                                      #   Unliquidated
     ___________________________________________________________      #   Disputed
       Wickett, TX 79788
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred          12/2013 - 10/2014
                                              ___________________     Is the claim subject to offset?
                                                                      5
                                                                      #   No
     Last 4 digits of account number          ___ ___ ___ ___         #   Yes

  10 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:            14,816.11
                                                                                                                      $________________________________
           Monahans Electric                                          Check all that apply.
     ___________________________________________________________
                                                                      #   Contingent
       701 Tradewinds Blvd.                                           #   Unliquidated
     ___________________________________________________________      #   Disputed
       Midland, TX 79706-2892
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred           12/2013 - 10/2014
                                              ___________________     Is the claim subject to offset?
                                                                      5
                                                                      #   No
     Last 4 digits of account number          ___ ___ ___ ___         #   Yes



  11 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:          397,996.57
                                                                                                                      $________________________________
            Newpark Drilling Fluids LLC
     ___________________________________________________________
                                                                      Check all that apply.
                                                                      #   Contingent
            9320 Lakeside Blvd., Suite 100                            #   Unliquidated
     ___________________________________________________________      #   Disputed
         The Woodlands, TX 77381-1211
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      5
                                                                      #   No
     Last 4 digits of account number          ___ ___ ___ ___         #   Yes




                                                                                                                                                  3     26
    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __ of ___
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  Debtor         _______________________________________________________                         Case number   (if known) _____________________________________
                  Name



 Part 2:      Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                              Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:      200,345.99
                                                                 Check all that apply.                         $________________________________
       O-Tex Pumping, LLC
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
       7045 N. Highway  81
                                                                 " Disputed
     ___________________________________________________________ " Liquidated and neither contingent nor
       Duncan, OK 73533-4001
     ___________________________________________________________    disputed
                                                                                         Trade Debt
                                                                 Basis for the claim: ________________________

     Date or dates debt was incurred              12/2013 - 10/2014
                                                 ___________________      Is the claim subject to offset?
                                                                          "5 No
     Last 4 digits of account number             ___ ___ ___ ___          " Yes

  13 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                      43,964.37
                                                                                                                           $________________________________
       Pason Systems USA Corp.                                   Check all that apply.
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
       16035 Table Mountain Pkwy
     ___________________________________________________________ " Disputed
        Golden, CO 80403-1642
     ___________________________________________________________                                Trade Debt
                                                                          Basis for the claim: ________________________

     Date or dates debt was incurred
                                                      12/2013 - 10/2014
                                                 ___________________      Is the claim subject to offset?
                                                                          "5 No
     Last 4 digits of account number             ___ ___ ___ ___          " Yes

  14 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                    393,596.58
                                                                                                                           $________________________________
           ProPetro Services, Inc.                               Check all that apply.
     ___________________________________________________________
                                                                 " Contingent
                                                                 " Unliquidated
         P.O. Box 873
     ___________________________________________________________ " Disputed
           Midland, TX 79702-0873
     ___________________________________________________________
                                                                                                Trade Debt
                                                                          Basis for the claim: ________________________

     Date or dates debt was incurred              12/2013 - 10/2014
                                                 ___________________      Is the claim subject to offset?
                                                                          "5 No
     Last 4 digits of account number             ___ ___ ___ ___          " Yes

  15 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                       71,782.00
                                                                                                                           $________________________________
           Ready Drill, LLC
     ___________________________________________________________
                                                                 Check all that apply.
                                                                 " Contingent
        1601 S. Stockton Ave.                                    " Unliquidated
     ___________________________________________________________ " Disputed
         Monahans, TX
     ___________________________________________________________                                Trade Debt
                                                                          Basis for the claim: ________________________
                                                      12/2013 - 10/2014   Is the claim subject to offset?
     Date or dates debt was incurred             ___________________
                                                                          "5 No
     Last 4 digits of account number             ___ ___ ___ ___          "   Yes



  16 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                    604,675.10
           Ryan Drilling, LLC d/b/a O'Ryan Drilling              Check all that apply.                                     $________________________________
     ___________________________________________________________
                                                                 " Contingent
        One Mission Blvd.
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
        Odessa, TX 79765
     ___________________________________________________________                                Trade Debt
                                                                          Basis for the claim: ________________________
                                                  12/2013 - 10/2014       Is the claim subject to offset?
     Date or dates debt was incurred             ___________________
                                                                          "5 No
     Last 4 digits of account number             ___ ___ ___ ___          " Yes




    Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                                          4      26
                                                                                                                                                     page __ of ___
       16-10433-tmd      Doc#9 LLC
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  Debtor          _______________________________________________________                     Case number   (if known) _____________________________________
                  Name



 Part 2:      Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                           Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  17 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:               243,475.50
                                                                 Check all that apply.                                  $________________________________
       Schlumberger  Technology
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
           1200 Enclave Pkwy #MD323                                   "   Disputed
     ___________________________________________________________      "   Liquidated and neither contingent nor
        Houston, TX 77077-1764
     ___________________________________________________________          disputed
                                                                                             Trade Debt
                                                                      Basis for the claim: ________________________

                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  18 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:           261,758.76
                                                                 Check all that apply.                                  $________________________________
       Smith International, Inc.
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
       16740 Hardy Rd.
     ___________________________________________________________      "   Disputed
        Houston, TX 77032-1125
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         "   Yes


  19 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                 479,890.48
                                                                 Check all that apply.                                  $________________________________
           TEC Well Service, Inc.
     ___________________________________________________________
                                                                 " Contingent
         851 W. Harrison Rd.
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
         Longview, TX 75604-5208
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes
  20 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                   15,024.9
                                                                 Check all that apply.                                  $________________________________
      Commerce Bank
     ___________________________________________________________
                                                                 " Contingent
        P.O. Box 414084                                          " Unliquidated
     ___________________________________________________________ " Disputed
           Kansas City, Missouri
     ___________________________________________________________
                                                                                             Credit Card Debt
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred              2016
                                              ___________________     Is the claim subject to offset?
                                                                      "5 No
     Last 4 digits of account number           4 ___
                                              ___ 0 ___
                                                     0 ___
                                                         8            " Yes


  21 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                   129,914.13
            Terratek                                             Check all that apply.                                  $________________________________
     ___________________________________________________________
                                                                 " Contingent
        730 Ardmore St.                                          " Unliquidated
     ___________________________________________________________ " Disputed
         Houston, TX 77054
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes



                                                                                                                                                       5       26
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                          Resources Filed
                                    LLC    05/04/16 Entered 05/04/16 14:58:51 Main Document   16-10433-tmd Pg 7 of 31
  Debtor    _______________________________________________________   Case number (if known)_____________________________________
                  Name



 Part 2:      Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  22 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                 Check all that apply.                                      390,460.66
                                                                                                                      $________________________________
      Thomas  Energy   Services, LLC d/b/a
     ___________________________________________________________ " Contingent
       Thomas Tool, LLC                                          " Unliquidated
           10370 Richmond Ave., Suite 650                             "   Disputed
     ___________________________________________________________      "   Liquidated and neither contingent nor
        Houston, TX 77042-4141
     ___________________________________________________________          disputed
                                                                                             Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  23 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                999,590.05
                                                                                                                      $________________________________
           Viking Coil Tubing, LLC                               Check all that apply.
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
        16803 Dallas Pkwy
     ___________________________________________________________ " Disputed
         Addison, TX 75001-5212
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  24 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                   37,360.37
           Wildcat Oil Tools, LLC                                Check all that apply.                                $________________________________
     ___________________________________________________________
                                                                 " Contingent
                                                                 " Unliquidated
         P.O. Box 50592
     ___________________________________________________________ " Disputed
         Midland, TX 79710-0592
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred            12/2013 - 10/2014
                                              ___________________     Is the claim subject to offset?
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  25 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                135,396.28
           William Caton Welding                                 Check all that apply.                                $________________________________
     ___________________________________________________________
                                                                 " Contingent
         1406 9th St.                                            " Unliquidated
     ___________________________________________________________ " Disputed
          Eunice, NM 88231
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                              12/2013 - 10/2014       Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         "   Yes



  26 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                   15,527.70
           WTG Fuels, Inc.                                       Check all that apply.                                $________________________________
     ___________________________________________________________
                                                                 " Contingent
        P.O. Box 3514                                            " Unliquidated
     ___________________________________________________________ " Disputed
        Midland, TX 79702-3514
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred           12/2013 - 10/2014
                                              ___________________     Is the claim subject to offset?
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes




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  Debtor          _______________________________________________________                    Case number   (if known) _____________________________________
                  Name



 Part 2:      Additional Page


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                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  27 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:          3,400.00
                                                                 Check all that apply.                         $________________________________
        2X Rentals, LLC
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
       925 W. Winkler St.                                        " Disputed
     ___________________________________________________________ " Liquidated and neither contingent nor
         Kermit, TX 79745
     ___________________________________________________________    disputed
                                                                                         Trade Debt
                                                                 Basis for the claim: ________________________

     Date or dates debt was incurred            12/2013 - 10/2014
                                              ___________________    Is the claim subject to offset?
                                                                     "5 No
     Last 4 digits of account number          ___ ___ ___ ___        " Yes

  28 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                            305,737.09
                                                                                                                       $________________________________
       Alvy's Logistics
     ___________________________________________________________     "   Contingent
                                                                     "   Unliquidated
           2117 W. Airport Fwy, Suite 46
     ___________________________________________________________     "   Disputed
           Irving, TX 75062-6070
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                                12/2013 - 10/2014    Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                     "5 No
     Last 4 digits of account number          ___ ___ ___ ___        " Yes

  29 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                   108.00
       Armstrong Gas Labs, Inc.                                  Check all that apply.                                 $________________________________
     ___________________________________________________________
                                                                 " Contingent
                                                                 " Unliquidated
       P.O. Box 988
     ___________________________________________________________ " Disputed
       Monahans, TX 79756-0988
     ___________________________________________________________
                                                                                          Trade Debt
                                                                     Basis for the claim: ________________________
                                                12/2013 - 10/2014
     Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                     "5 No
     Last 4 digits of account number          ___ ___ ___ ___        " Yes
  30 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                 47,436.00
           Battle Energy Services                                Check all that apply.                                 $________________________________
     ___________________________________________________________
                                                                 " Contingent
        P.O. Box 7                                               " Unliquidated
     ___________________________________________________________ " Disputed
           Lovington, NM 88260-0007
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                                12/2013 - 10/2014    Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                     "5 No
     Last 4 digits of account number          ___ ___ ___ ___        "   Yes



  31 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                   2,786.18
           Blair Tool, LLC                                       Check all that apply.                                 $________________________________
     ___________________________________________________________
                                                                 " Contingent
        P.O. Box 160                                             " Unliquidated
     ___________________________________________________________ " Disputed
            Hobbs, NM 88241-0160
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                                12/2013 - 10/2014    Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                     "5 No
     Last 4 digits of account number          ___ ___ ___ ___        " Yes




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                 Name



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  32 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                                                                           29,167.10
                                                                                                                     $________________________________
       Insource Insurance Group                                  Check all that apply.
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
        5108 Wayland Dr.                                         " Disputed
     ___________________________________________________________ " Liquidated and neither contingent nor
        Odessa, TX 79762-5513
     ___________________________________________________________    disputed

                                                                                           Trade Debt
                                                                     Basis for the claim: ________________________
                                              12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  33 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:          31,841.25
                                                                 Check all that apply.                               $________________________________
        Bruce Franks Rentals, LLC
     ___________________________________________________________     "   Contingent
                                                                     "   Unliquidated
           P.O. Box 315                                              "   Disputed
     ___________________________________________________________
           Lockhart, TX 78644-0315
     ___________________________________________________________
                                                                                          Trade Debt
                                                                     Basis for the claim: ________________________
                                             12/2013 - 10/2014       Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  34 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:           26,570.98
                                                                 Check all that apply.                               $________________________________
        CalTex Water LLC
     ___________________________________________________________
                                                                     "   Contingent
                                                                     "   Unliquidated
         5820 Manchester Ln.
     ___________________________________________________________     "   Disputed
         San Angelo, TX 76901-5020
     ___________________________________________________________
                                                                     Basis for the claim: Trade Debt
                                                                                          ________________________

     Date or dates debt was incurred         12/2013 - 10/2014
                                             ___________________     Is the claim subject to offset?
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  35 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                  3,031.31
                                                                 Check all that apply.                               $________________________________
          The Cavins Corporation
     ___________________________________________________________
                                                                 " Contingent
          1800 Bering Dr., Suite 825
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
             Houston, TX 77057-3415
     ___________________________________________________________                          Trade Debt
                                                                     Basis for the claim: ________________________
                                              12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         "   Yes



  36 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                   1,800.00
                                                                                                                     $________________________________
          CC's Cleaning Services
     ___________________________________________________________
                                                                 Check all that apply.
                                                                 " Contingent
           13730 Ella Lee Ln.
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
          Houston, TX 77077-5407
     ___________________________________________________________
                                                                     Basis for the claim: Trade Debt
                                                                                          ________________________
                                              12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes



                                                                                                                                                  8     26
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  37 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:          19,904.00
                                                                 Check all that apply.                         $________________________________
            Chad's Inspection Services
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
            P.O. Box 13873                                       " Disputed
     ___________________________________________________________ " Liquidated and neither contingent nor
            Odessa, TX 79768-3873
     ___________________________________________________________    disputed
                                                                                          Trade Debt
                                                                 Basis for the claim: ________________________

                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  38 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                 8,952.29
                                                                 Check all that apply.                               $________________________________
             Chapman Services, Inc.
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
           3006 Laurel Ave.
     ___________________________________________________________ " Disputed
              Odessa, TX 79762
     ___________________________________________________________                            Trade Debt
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred
                                               12/2013 - 10/2014
                                             ___________________     Is the claim subject to offset?
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  39 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:            10,203.23
                                                                 Check all that apply.                               $________________________________
           Corrosion Ltd.
     ___________________________________________________________
                                                                     "   Contingent
                                                                     "   Unliquidated
              4321 S. County Road 1290
     ___________________________________________________________     "   Disputed
           Odessa, TX 79765-9506
     ___________________________________________________________
                                                                                           Trade Debt
                                                                     Basis for the claim: ________________________
                                              12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes
  40 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:              333,354.25
                                                                                                                     $________________________________
              Delta P Petroleum Services
     ___________________________________________________________
                                                                 Check all that apply.
                                                                 " Contingent
                                                                 " Unliquidated
            P.O. Box 2079
     ___________________________________________________________ " Disputed
           Midland, TX 79702-2079
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         "   Yes



  41 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                  10,702.76
              Derrick Corporation                                Check all that apply.                               $________________________________
     ___________________________________________________________
                                                                 " Contingent
           590 Duke Road
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
           Buffalo, NY 14225-5102
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred          12/2013 - 10/2014
                                             ___________________     Is the claim subject to offset?
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes




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               Name                                                    31
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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  42 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:                  2,582.48
                                                                 Check all that apply.                                $________________________________
         Diamond   D Slickline Service
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
           P.O. Box 216                                               "   Disputed
     ___________________________________________________________      "   Liquidated and neither contingent nor
         Snyder, TX 79550-0216
     ___________________________________________________________          disputed
                                                                                             Trade Debt
                                                                      Basis for the claim: ________________________

                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  43 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:            56,147.50
                                                                 Check all that apply.                                $________________________________
         Double D Tong, Inc.
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
            P.O. Box 69863
     ___________________________________________________________      "   Disputed
          Odessa, TX 79769-0863
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  44 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:               4,447.45
                                                                 Check all that apply.                                $________________________________
         Down Hole Inspection
     ___________________________________________________________
                                                                      "   Contingent
                                                                      "   Unliquidated
            P.O. Box 274
     ___________________________________________________________      "   Disputed
            Monahans, TX 79756-0274
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  45 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                      3,425.42
             Ellison Fluid Calipers LLC                          Check all that apply.                                $________________________________
     ___________________________________________________________
                                                                 " Contingent
           7 Casa Loma
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
           Odessa, TX 79765-8954
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred            12/2013 - 10/2014
                                              ___________________     Is the claim subject to offset?
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         "   Yes



  46 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                       8,945.00
             F&C Transports, Inc.                                Check all that apply.                                $________________________________
     ___________________________________________________________
                                                                 " Contingent
                                                                 " Unliquidated
           P.O. Box 1162
     ___________________________________________________________ " Disputed
           Monahans, TX 79756-1162
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes




                                                                                                                                                     10   26
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               Name                                                    31
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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  47 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                           152,940.00
                                                                                                                      $________________________________
       Falcon Oilfield Services
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
           5855 Sovereign Dr., Suite A                                "   Disputed
     ___________________________________________________________      "   Liquidated and neither contingent nor
        Houston, TX 77036-2337
     ___________________________________________________________          disputed
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________

                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

3.__
  48 Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:         364,317.51
                                                                 Check all that apply.                                $________________________________
       Frac Tank Rentals LLC
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
           P.O. Box 3946                                              "   Disputed
     ___________________________________________________________
        Odessa, TX 79760-3946
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  49 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:              5,750.00
                                                                 Check all that apply.                                $________________________________
        G & K Trucking, Inc.
     ___________________________________________________________
                                                                      "   Contingent
                                                                      "   Unliquidated
         P.O. Box 176
     ___________________________________________________________      "   Disputed
           Midland, TX 79702-0176
     ___________________________________________________________
                                                                                           Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

3.__
  50 Nonpriority creditor’s name and mailing address
                                                                 As of the petition filing date, the claim is:                   7,204.82
            G & W Trucking, Inc.                                 Check all that apply.                                $________________________________
     ___________________________________________________________
                                                                 " Contingent
                                                                 " Unliquidated
         P.O. Box 163
     ___________________________________________________________ " Disputed
         Snyder, TX 79550-0163
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                              12/2013 - 10/2014
     Date or dates debt was incurred          ___________________     Is the claim subject to offset?
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         "   Yes



  51 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                 13,500.00
                                                                                                                      $________________________________
           Gas Well Services, Inc.
     ___________________________________________________________
                                                                 Check all that apply.
                                                                 " Contingent
                                                                 " Unliquidated
         26 E. Compress Road
     ___________________________________________________________ " Disputed
         Artesia, NM 88210-9215
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes



                                                                                                                                                  11    26
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  52 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:           11,500.00
       GE Oil & Gas Logging Services                             Check all that apply.                         $________________________________
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
        13000 Executive Dr.                                      " Disputed
     ___________________________________________________________ " Liquidated and neither contingent nor
        Sugar Land, TX 77478-4506
     ___________________________________________________________    disputed
                                                                                         Trade Debt
                                                                 Basis for the claim: ________________________

                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  53 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:              77,688.29
                                                                 Check all that apply.                               $________________________________
        GE Oil & Gas ESP, Inc.
     ___________________________________________________________     "   Contingent
                                                                     "   Unliquidated
           P.O. Box 9950                                             "   Disputed
     ___________________________________________________________
        Fort Myers, FL 33906-9550
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  54 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                   6,000.00
                                                                 Check all that apply.                               $________________________________
           Globe Production Services
     ___________________________________________________________
                                                                 " Contingent
                                                                 " Unliquidated
         8412 Wallisville Road
     ___________________________________________________________ " Disputed
         Houston, TX 77029-1112
     ___________________________________________________________
                                                                                           Trade Debt
                                                                     Basis for the claim: ________________________
                                              12/2013 - 10/2014
     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  55 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                 15,176.30
                                                                                                                     $________________________________
             Gray Surface Specialties
     ___________________________________________________________
                                                                 Check all that apply.
                                                                 " Contingent
         3416 W. Wall St., Suite 102
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
          Midland, TX 79701-6700
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                              12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         "   Yes



  56 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:           131,538.75
                                                                                                                     $________________________________
         Greenleaf Resources, inc.
     ___________________________________________________________
                                                                 Check all that apply.
                                                                     "   Contingent
            P.O. Box 390                                             "   Unliquidated
     ___________________________________________________________     "   Disputed
            Monahans, TX 79756-0390
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes




                                                                                                                                                 12    26
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               Name                                                    31
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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  57 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:                   21,850.00
                                                                 Check all that apply.                                $________________________________
           Gyrodata  Incorporated
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
             23000 NW Lake Drive                                      "   Disputed
     ___________________________________________________________      "   Liquidated and neither contingent nor
             Houston, TX 77095-5344                                       disputed
     ___________________________________________________________
                                                                                             Trade Debt
                                                                      Basis for the claim: ________________________

                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  58 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                  111,419.32
                                                                 Check all that apply.                                $________________________________
            Halliburton Energy Services
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
         3000 N. Sam Houston Pkwy E
     ___________________________________________________________ " Disputed
         Houston, TX 77032-3299
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

3.__
  59 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:                10,168.24
                                                                 Check all that apply.                                $________________________________
          Hughes Oilfield
     ___________________________________________________________
                                                                      "   Contingent
                                                                      "   Unliquidated
          2513 N. Mercury Ave.
     ___________________________________________________________      "   Disputed
          Odessa, TX 79763-1922
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred
                                               12/2013 - 10/2014
                                              ___________________     Is the claim subject to offset?
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  60 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                        7,278.12
            Jan Electric LLC                                     Check all that apply.                                $________________________________
     ___________________________________________________________
                                                                 " Contingent
          402 Technology Dr.                                     " Unliquidated
     ___________________________________________________________ " Disputed
          Bastrop, TX 78602-4304
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014
     Date or dates debt was incurred          ___________________     Is the claim subject to offset?
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         "   Yes



  61 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                    289,037.49
              JWL Well Services, Inc.                            Check all that apply.                                $________________________________
     ___________________________________________________________
                                                                 " Contingent
           P.O. Box 9455                                         " Unliquidated
     ___________________________________________________________ " Disputed
           Midland, TX 79708-9455
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes




                                                                                                                                                    13     26
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  Debtor       _______________________________________________________    Case number (if known)_____________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  62 Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:
                                                                 Check all that apply.                              241,556.42
                                                                                                               $________________________________
     ___________________________________________________________
         J & W Services & Equipment                              " Contingent
                                                                 " Unliquidated
                                                                 " Disputed
         4113 Fairwood Dr.
     ___________________________________________________________ " Liquidated and neither contingent nor
     ___________________________________________________________    disputed
          Midland, TX 79707-14302
                                                                                         Trade Debt
                                                                 Basis for the claim: ________________________

                                               12/2013 - 10/20141    Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

3.__
  63 Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:              1,642.29
                                                                 Check all that apply.                               $________________________________
        Grande Communications
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
        500  Tittle Road, Suite 400
     ___________________________________________________________ " Disputed
            Lewisville, TX 75056
     ___________________________________________________________                             Trade Debt
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                     " No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  64 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.                               $________________________________
                                                                                                                               14,780.54
     ___________________________________________________________
           Kel-Tech, Inc.                                        " Contingent
           20333 Blinka Rd.                                      " Unliquidated
     ___________________________________________________________ " Disputed
             Waller, TX 77484-7221
     ___________________________________________________________                          Trade Debt
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           12/2013 - 10/2014
                                             ___________________     Is the claim subject to offset?
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

3.__
  65 Nonpriority creditor’s name and mailing address
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.                               $________________________________
                                                                                                                            115,619.32
           Leeson Energy Services, LLC
     ___________________________________________________________
                                                                 " Contingent
           6901 E. Highway 80                                    " Unliquidated
     ___________________________________________________________ " Disputed
              Midland, TX 79706-4512
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred          12/2013 - 10/2014
                                             ___________________     Is the claim subject to offset?
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes


3.__
  66 Nonpriority creditor’s name and mailing address
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.                                          27,549.50
                                                                                                                     $________________________________
     ___________________________________________________________
           Lewis Casing Crews, Inc.                              " Contingent
           P.O.Box 13747                                         " Unliquidated
     ___________________________________________________________ " Disputed
              Odessa, TX 79768-3747
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred          12/2013 - 10/2014
                                             ___________________     Is the claim subject to offset?
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes



                                                                                                                                                 14
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  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    31
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  67 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                 Check all that apply.                                   17,655.00
                                                                                                               $________________________________
         Liberty Bit Service, Inc.
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
         P.O. Box 69709                                          " Disputed
     ___________________________________________________________ " Liquidated and neither contingent nor
         Odessa, TX 79769-0709
     ___________________________________________________________    disputed
                                                                                         Trade Debt
                                                                 Basis for the claim: ________________________

                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  68 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:              15,976.23
                                                                 Check all that apply.                               $________________________________
          M & W Hot Oil, Inc.
     ___________________________________________________________     "   Contingent
                                                                     "   Unliquidated
          P.O. Box 898
     ___________________________________________________________     "   Disputed
         Pecos, TX 79772-0898
     ___________________________________________________________
                                                                                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  69 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:               180,510.00
                                                                 Check all that apply.                               $________________________________
          M3P Directional Services Ltd.
     ___________________________________________________________
                                                                 " Contingent
                                                                 " Unliquidated
          P.O. Box 2552
     ___________________________________________________________ " Disputed
             Midland, TX 79702-2552
     ___________________________________________________________
                                                                                          Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  70 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                 35,334.26
                                                                                                                     $________________________________
            Mathena, inc.
     ___________________________________________________________
                                                                 Check all that apply.
                                                                 " Contingent
          601 Weir Way
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
         fort Worth, TX 76108-2508
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                              12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         "   Yes



  71 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                      780.00
             Mitchell Analytical Lab                             Check all that apply.                               $________________________________
     ___________________________________________________________
                                                                 " Contingent
                                                                 " Unliquidated
          2638 Faudree Rd.
     ___________________________________________________________ " Disputed
          Odessa, TX 79765-8538
     ___________________________________________________________
                                                                                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes



                                                                                                                                                 15     26
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               Name                                                    31
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  72 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                        80,000.00
                                                                                                               $________________________________
           MKH Transportation, Inc.
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
          P.O. Box 1362                                          " Disputed
     ___________________________________________________________ " Liquidated and neither contingent nor
          Snyder, TX 79550-1362
     ___________________________________________________________    disputed
                                                                                         Trade Debt
                                                                 Basis for the claim: ________________________

                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  73 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                   2,725.00
                                                                 Check all that apply.                               $________________________________
              Monahans Nipple-Up Service
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
            700 N. Loop 464
     ___________________________________________________________ " Disputed
               Monahans, TX 79756
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  74 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                  15,280.36
                                                                 Check all that apply.                               $________________________________
            Oil Patch Water & Sewer
     ___________________________________________________________
                                                                 " Contingent
            2407 E. Murphy St., Bldg. C
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
               Odessa, TX
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes
  75 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                 92,026.06
                                                                                                                     $________________________________
             Oil Patch Rental Services, Inc.
     ___________________________________________________________
                                                                 Check all that apply.
                                                                 " Contingent
             2407 E. Murphy St., Bldg. C                         " Unliquidated
     ___________________________________________________________ " Disputed
             Odessa, TX
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                              12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         "   Yes



  76 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                  18,359.20
                                                                                                                     $________________________________
             Permian Equipment Rentals
     ___________________________________________________________
                                                                 Check all that apply.
                                                                 " Contingent
             P.O. Box 61730                                      " Unliquidated
     ___________________________________________________________ " Disputed
             Midland, TX 79711-1730
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes




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               Name                                                    31
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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  77 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                                                                                6,300.00
                                                                                                                      $________________________________
                                                                 Check all that apply.
         Permian   Power  Tong, Inc.
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
            P.O. Box 625                                              "   Disputed
     ___________________________________________________________      "   Liquidated and neither contingent nor
         Gardendale, TX 79758-0625
     ___________________________________________________________          disputed
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________

                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  78 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                      130.44
                                                                                                                      $________________________________
            Precision Flow, Inc.                                 Check all that apply.
     ___________________________________________________________ " Contingent

          725 N. Avenue E
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
            Odessa, TX 79763-3161
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  79 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                     3,045.20
                                                                 Check all that apply.                                $________________________________
           Pro-Test, Inc.
     ___________________________________________________________
                                                                 " Contingent
                                                                 " Unliquidated
           454 FM 1252 E
     ___________________________________________________________ " Disputed
           Kilgore, TX 75662-0003
     ___________________________________________________________                           Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes
  80 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                    1,370.43
                                                                                                                      $________________________________
              Pro Welding LLC                                    Check all that apply.
     ___________________________________________________________
                                                                 " Contingent
            2414 W. 49th St.                                     " Unliquidated
     ___________________________________________________________ " Disputed
               Odessa, TX 79764-3931
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         "   Yes



  81 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                       967.88
                                                                 Check all that apply.                                $________________________________
            Ralph's Welding
     ___________________________________________________________
                                                                 " Contingent
            3728 W. Smith Ln.                                    " Unliquidated
     ___________________________________________________________ " Disputed
            Hobbs, NM 88240
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes



                                                                                                                                                  17     26
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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  82 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                                 3,510.00
                                                                                                                      $________________________________
             Renegade     Torque and Test
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
                156 Tri Boss                                          "   Disputed
     ___________________________________________________________      "   Liquidated and neither contingent nor
              La Vernia, TX 78121
     ___________________________________________________________          disputed
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________

                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  83 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:           118,290.67
                                                                 Check all that apply.                                $________________________________
             RTO Sales & Leasing, Inc.
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
              6931 E. Business 20
     ___________________________________________________________      "   Disputed
              Odessa, TX 79762
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

 84 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:            119,772.50
                                                                 Check all that apply.                                $________________________________
               Sanjan Hot Shot & Transport
     ___________________________________________________________
                                                                      "   Contingent
                                                                      "   Unliquidated
                 2626 Jon Ben Sheppard Pkwy                           "   Disputed
     ___________________________________________________________
               Odessa, TX 79761
     ___________________________________________________________                           Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  85 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                     11,832.00
                                                                                                                      $________________________________
               Scientific Drilling
     ___________________________________________________________
                                                                 Check all that apply.
                                                                 " Contingent
             325 Faudree Rd.                                     " Unliquidated
     ___________________________________________________________ " Disputed
             Odessa, TX 79765
     ___________________________________________________________                           Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         "   Yes



 86 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                        9,790.14
                                                                 Check all that apply.                                $________________________________
            SK Supply Co.
     ___________________________________________________________
                                                                 " Contingent
            1606 S. Regal Ave.                                   " Unliquidated
     ___________________________________________________________ " Disputed
               Odessa, TX 79763-5001
     ___________________________________________________________                           Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes




                                                                                                                                                   18      26
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               Name                                                    31
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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  87 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:               32,577.65
                                                                 Check all that apply.                         $________________________________
           Smith Brothers Pipe
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
            2707 E. Interstate 20                                " Disputed
     ___________________________________________________________ " Liquidated and neither contingent nor
            Midland, TX 79706
     ___________________________________________________________    disputed
                                                                                         Trade Debt
                                                                 Basis for the claim: ________________________

                                                 12/2013 - 10/2014    Is the claim subject to offset?
     Date or dates debt was incurred            ___________________
                                                                      "5 No
     Last 4 digits of account number            ___ ___ ___ ___       " Yes

  88 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:              410,872.40
                                                                 Check all that apply.                                $________________________________
            Sooner Pipe, L.L.C.
     ___________________________________________________________      "   Contingent
               401 S. Boston Ave., Suite 1000                         "   Unliquidated
     ___________________________________________________________      "   Disputed
               Tulsa, OK 74103-4010
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                  12/2013 - 10/2014   Is the claim subject to offset?
     Date or dates debt was incurred            ___________________
                                                                      "5 No
     Last 4 digits of account number            ___ ___ ___ ___       " Yes

  89 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:                16,124.18
                                                                 Check all that apply.                                $________________________________
          Stabil Drill
     ___________________________________________________________
                                                                      "   Contingent
                                                                      "   Unliquidated
            2805 S. County Road 1207                                  "   Disputed
     ___________________________________________________________
            Midland, TX 79706-3756
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                 12/2013 - 10/2014    Is the claim subject to offset?
     Date or dates debt was incurred            ___________________
                                                                      "5 No
     Last 4 digits of account number            ___ ___ ___ ___       " Yes
  90 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                       3,600.00
                                                                 Check all that apply.                                $________________________________
          Stoner Engineering LLC
     ___________________________________________________________
                                                                 " Contingent
          1010 10th St., Suite 104                               " Unliquidated
     ___________________________________________________________ " Disputed
          Golden, CO
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred            ___________________
                                                                      "5 No
     Last 4 digits of account number            ___ ___ ___ ___       "   Yes



  91 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                  109,968.50
                                                                 Check all that apply.                                $________________________________
           Suttles Logging, Inc.
     ___________________________________________________________
                                                                 " Contingent
           P.O. Box 10725                                        " Unliquidated
     ___________________________________________________________ " Disputed
              Midland, TX 79702-7725
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                 12/2013 - 10/2014    Is the claim subject to offset?
     Date or dates debt was incurred            ___________________
                                                                      "5 No
     Last 4 digits of account number            ___ ___ ___ ___       " Yes



                                                                                                                                                  19     26
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               Name                                                    31
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  92 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                              493.50
                                                                                                               $________________________________
            Tejas Hot Shot Service &
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
            13808 W. Highway 80 E                                " Disputed
     ___________________________________________________________ " Liquidated and neither contingent nor
            Odessa, TX 79765-9300
     ___________________________________________________________    disputed
                                                                                         Trade Debt
                                                                 Basis for the claim: ________________________

                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  93 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:                2,890.00
                                                                 Check all that apply.                               $________________________________
             Thompson Laydown LLC
     ___________________________________________________________     "   Contingent
                                                                     "   Unliquidated
                P.O. Box 70190
     ___________________________________________________________     "   Disputed
                Odessa, TX 79769-1190
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  94 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                  14,445.00
                                                                 Check all that apply.                               $________________________________
               Tops, Inc.
     ___________________________________________________________
                                                                 " Contingent
                                                                 " Unliquidated
               12614 West County Rd. 91
     ___________________________________________________________ " Disputed
               Midland, TX
     ___________________________________________________________                          Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  95 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                     2,775.00
                                                                 Check all that apply.                               $________________________________
              Tramco Services, Inc.
     ___________________________________________________________
                                                                 " Contingent
              P.O. Box 13358                                     " Unliquidated
     ___________________________________________________________ " Disputed
                 Odessa, TX 79768-3358                                                     Trade Debt
     ___________________________________________________________
                                                                     Basis for the claim: ________________________
                                              12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         "   Yes



  96 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                   59,959.68
                                                                                                                     $________________________________
              Ulterra Drilling
     ___________________________________________________________
                                                                 Check all that apply.
                                                                 " Contingent
             420 Throckmorton St., Suite 1110
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
             Fort Worth, TX 76102-3728
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes



                                                                                                                                                 20     26
    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __ of ___
           16-10433-tmd      Doc#9
                     San Gabriel        Filed
                                 Resources LLC 05/04/16 Entered 05/04/16 14:58:51 Main16-10433-tmd Document Pg 22 of
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    31
 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  97 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                                                                                       658.18
                                                                                                                      $________________________________
                                                                 Check all that apply.
         United  Vision Logistics
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
             3210 North FM 1936                                       "   Disputed
     ___________________________________________________________      "   Liquidated and neither contingent nor
             Odessa, TX 79764
     ___________________________________________________________          disputed
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________

                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  98 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:                97,375.01
                                                                 Check all that apply.                                $________________________________
          Vaughn Energy Services
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
             P.O. Box 261021                                          "   Disputed
     ___________________________________________________________
           Corpus Christi, TX 78426-1021
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  99 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                      95,116.39
                                                                 Check all that apply.                                $________________________________
             Wadeco Specialties, Inc.
     ___________________________________________________________
                                                                 " Contingent
          8115 W. Industrial Ave.                                " Unliquidated
     ___________________________________________________________ " Disputed
             Midland, TX 79706
     ___________________________________________________________
                                                                                           Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

3.__
 100 Nonpriority creditor’s name and mailing address
                                                                 As of the petition filing date, the claim is:                      22,154.19
                                                                 Check all that apply.                                $________________________________
            Watson Packer
     ___________________________________________________________
                                                                 " Contingent
             600 N. Big Springs St.                              " Unliquidated
     ___________________________________________________________ " Disputed
            Midland, TX 79701-4329
     ___________________________________________________________                           Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         "   Yes



  101
3.__  Nonpriority creditor’s name and mailing address
                                                                 As of the petition filing date, the claim is:                      21,518.24
               West Texas Gas, Inc.                              Check all that apply.                                $________________________________
     ___________________________________________________________
                                                                 " Contingent
             211 N. Colorado St.                                 " Unliquidated
     ___________________________________________________________ " Disputed
              Midland, TX 79701-4607
     ___________________________________________________________
                                                                                           Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes



                                                                                                                                                    21      26
    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                               page __ of ___
           16-10433-tmd       Doc#9 LLC
                  San Gabriel Resources Filed 05/04/16 Entered 05/04/16 14:58:51 Main              Document Pg 23 of
                                                                                                16-10433-tmd
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    31
 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  102 Nonpriority creditor’s name and mailing address
3.__                                                              As of the petition filing date, the claim is:
                                                                                                                                       619.00
                                                                                                                       $________________________________
                                                                  Check all that apply.
               LJA  Hotshot  Service
      ___________________________________________________________      "   Contingent
                                                                       "   Unliquidated
                1407 W. 6th St.                                        "   Disputed
       ___________________________________________________________     "   Liquidated and neither contingent nor
                Hobbs, NM 88240
       ___________________________________________________________         disputed
                                                                                             Trade Debt
                                                                       Basis for the claim: ________________________

                                                 12/2013 - 10/2014     Is the claim subject to offset?
       Date or dates debt was incurred         ___________________
                                                                       "5 No
       Last 4 digits of account number         ___ ___ ___ ___         " Yes

 103
3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:                    1,360.00
                                                                                                                       $________________________________
                  Mendoza's Welding Service                        Check all that apply.
       ___________________________________________________________ " Contingent

                  P.O. Box 3588                                    " Unliquidated
       ___________________________________________________________ " Disputed
                   Odessa, TX 79760-1388
       ___________________________________________________________                           Trade Debt
                                                                       Basis for the claim: ________________________
                                                 12/2013 - 10/2014     Is the claim subject to offset?
       Date or dates debt was incurred         ___________________
                                                                       "5 No
       Last 4 digits of account number         ___ ___ ___ ___         " Yes

  104 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:                110,000.00
                                                                   Check all that apply.                               $________________________________
                  Trans Pecos Trucking
       ___________________________________________________________
                                                                   " Contingent
                  2632 E. Pearl St.                                " Unliquidated
       ___________________________________________________________ " Disputed
                  Odessa, TX 79761
       ___________________________________________________________                          Trade Debt
                                                                       Basis for the claim: ________________________
                                                12/2013 - 10/2014      Is the claim subject to offset?
       Date or dates debt was incurred         ___________________
                                                                       "5 No
       Last 4 digits of account number         ___ ___ ___ ___         " Yes

3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                               $________________________________
       ___________________________________________________________
                                                                   " Contingent
                                                                   " Unliquidated
       ___________________________________________________________ " Disputed
       ___________________________________________________________
                                                                       Basis for the claim: ________________________

       Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                       " No
       Last 4 digits of account number         ___ ___ ___ ___         " Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                               $________________________________
       ___________________________________________________________
                                                                   " Contingent
                                                                   " Unliquidated
       ___________________________________________________________ " Disputed
       ___________________________________________________________
                                                                       Basis for the claim: ________________________

       Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                       " No
       Last 4 digits of account number         ___ ___ ___ ___         " Yes



                                                                                                                                                    22      26
    Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                             page __ of ___
              16-10433-tmd
                   San Gabriel Doc#9
                                 Resources Filed  05/04/16 Entered 05/04/16 14:58:51 Main16-10433-tmd
                                              L.L.C.                                                  Document Pg 24 of
     Debtor       _______________________________________________________    Case number (if known)_____________________________________
                  Name                                                   31
Part 3:              List Others to Be Notified About Unsecured Claims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                                         On which line in Part 1 or Part 2 is the    Last 4 digits of
                                                                                                               related creditor (if any) listed?           account number, if
                                                                                                                                                           any

4.1.      John Totz - Totz Ellison PC                                                                               3.1
                                                                                                               Line _____
         ___________________________________________________________________________________________________
           2211 Norfolk, Suite 510
         _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___
           Houston, TX 77098                                                                                        _________________________________
         _________________________________________________________________

4.2.      Colton Johnson                                                                                            3.2
                                                                                                               Line _____
         ___________________________________________________________________________________________________

           316 S. 2nd Street
         _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

           Albany, TX 76430
         _________________________________________________________________                                          _________________________________

4.3.       Stewart McKeehan - Stewart McKeehan Attorney at Law, P.C.                                                 3.3
                                                                                                               Line _____
         ___________________________________________________________________________________________________
          617 E. 7th Street
         _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

           Odessa, TX 79761
         _________________________________________________________________                                          _________________________________

4.4.      William T. Peckham and Julie A. Kuglen - Law Offices of William T. Peckham                                3.4
                                                                                                               Line _____
         ___________________________________________________________________________________________________
          1104 Nueces St., Suite 104                                                                                                                       ___ ___ ___ ___
         _________________________________________________________________                                     "    Not listed. Explain ________________
           Austin, TX 78701                                                                                         _________________________________
         _________________________________________________________________

41.       Mark Threadgill - Threadgill Law Firm PLLC
         ___________________________________________________________________________________________________
                                                                                                               Line 3.5,
                                                                                                                    _____3.9 and 3.25
          3800 E. 42nd St., Suite 601                                                                                                                      ___ ___ ___ ___
         _________________________________________________________________                                     "    Not listed. Explain ________________
          Odessa, TX 79762                                                                                          _________________________________
         _________________________________________________________________

4.5.       Ryan J. McNeel - Brocket & McNeel LLP                                                                    3.6
                                                                                                               Line _____
         ___________________________________________________________________________________________________
          Tgaar Tower, 24 Smith Road, Suite 400
         _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___
           Midland, TX 78705                                                                                        _________________________________
         _________________________________________________________________

4.6.       William R. Sudela and Kendall M. Valenti - Crady, Jewett & McCulley LLP                                  3.7
                                                                                                               Line _____
         ___________________________________________________________________________________________________
           2727 Allen Parkway, Suite 1700                                                                      "    Not listed. Explain ________________   ___ ___ ___ ___
         _________________________________________________________________
           Houston, TX 77019                                                                                        _________________________________
         _________________________________________________________________

4.7.       Bryan D. Mackay - Atkins, Hollmann, Jones, Peacock, Lewis & Lyon                                         3.8
                                                                                                               Line _____
         ___________________________________________________________________________________________________
           3800 E. 42nd St.
         _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___
              Odessa, TX 79762                                                                                      _________________________________
         _________________________________________________________________

4.8.      Moria Chapman - Strausburger Price                                                                         3.10
                                                                                                               Line _____
         ___________________________________________________________________________________________________
           901 Main St., Suite 4400
         _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

           Dallas, TX 75202
         _________________________________________________________________                                          _________________________________

4.9.       Carl Dore, Jr, and R. Alex Weatherford - Dore Law Group, P.C.                                            3.11
                                                                                                               Line _____
         ___________________________________________________________________________________________________
           17171 Park Row, Suite 160
         _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

              Houston, TX 77084
         _________________________________________________________________                                          _________________________________

4.10.         Marc R. May - Woods, May & Matlock, P.C.                                                              3.12 and 3.16
                                                                                                               Line _____
         ___________________________________________________________________________________________________

           2500 Legacy Drive, Suite 226
         _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

           Frisco, TX 75034
         _________________________________________________________________                                          _________________________________

4.11.
                                                                                                                    3.13
                                                                                                               Line _____
               William C. Boyd - Patterson, Boyd & Lowery, P.C.
         ___________________________________________________________________________________________________
                                                                                                               "    Not listed. Explain ________________   ___ ___ ___ ___
            2101 Louisiana St.
         _________________________________________________________________
                                                                                                                    _________________________________
               Houston, TX 77002
         _________________________________________________________________




                                                                                                                                                                         23     26
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  Debtor        _______________________________________________________    Case number (if known)_____________________________________
                Name                                                   31
 Part 3:        Additional Page for Others to Be Notified About Unsecured Claims


          Name and mailing address                                                                           On which line in Part 1 or Part 2 is the    Last 4 digits of
                                                                                                             related creditor (if any) listed?           account number,
                                                                                                                                                         if any
  12
4.__     George L. Thompson, III - Thompson & Kerby Law Offices                                                   3.14
                                                                                                             Line _____
       ___________________________________________________________________________________________________
         P.O. Box 65150
       _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

         Lubbock, TX 79464
       _________________________________________________________________                                          _________________________________

  13
4.__     Roddy Harrison                                                                                           3.15
                                                                                                             Line _____
       ___________________________________________________________________________________________________
         P.O. Box 1908
       _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___
         Pecos, TX 79772                                                                                          _________________________________
       _________________________________________________________________
  14
4.__     Holly C. Hamm - Snow Spence Green LLP                                                               Line 3.17.
                                                                                                                  _____ 3.18, 13.21 and 3.22
       ___________________________________________________________________________________________________
         2929 Allen Pkwy., Suite 2800
       _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

         Houston, TX 77019
       _________________________________________________________________                                          _________________________________

  15
4.__     Vance P. Freeman - Freeman Mills PC                                                                      3.19
                                                                                                             Line _____
       ___________________________________________________________________________________________________
         2020 Bill Owens Pkwy., Suite 200
       _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___
         Longview, TX 75604                                                                                       _________________________________
       _________________________________________________________________
  16
4.__     Michael G. Kelly - Kelly, Morgan, Dennis, Corzine & Hansen, P.C.                                    Line _____
       ___________________________________________________________________________________________________
         P.O. Box 1311
       _________________________________________________________________                                     "
                                                                                                             Ï                        Notice Only
                                                                                                                  Not listed. Explain ________________   ___ ___ ___ ___
          Odessa, TX 79760-1311                                                                                   _________________________________
       _________________________________________________________________
  17
4.__     Koy R. Kllen and DaNae Couch - Lovelace Kellen, P.L.L.C.                                                 3.23
                                                                                                             Line _____
       ___________________________________________________________________________________________________
         104 South Main St.
       _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___
         Burleson, TX 76028                                                                                       _________________________________
       _________________________________________________________________
  18
4.__     Jason B. Hamm - Brockett & McNeel, LLP                                                                   3.24
                                                                                                             Line _____
       ___________________________________________________________________________________________________
         24 Smith Road, Suite 400 - P.O. Box 1841                                                                                                        ___ ___ ___ ___
       _________________________________________________________________                                     "    Not listed. Explain ________________
          Midland, TX 79705                                                                                       _________________________________
       _________________________________________________________________
  19
4.__     G. Will Fowler - G. William Fowler, P.C.                                                                 3.26
                                                                                                             Line _____
       ___________________________________________________________________________________________________
         3800 E. 42nd St., Suite 600
       _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

         Odessa, TX 79762
       _________________________________________________________________                                          _________________________________

  20
4.__     Tejas Bank                                                                                          Line _____
       ___________________________________________________________________________________________________

         P.O. Box 140
       _________________________________________________________________                                     "                        Notice Only
                                                                                                                  Not listed. Explain ________________   ___ ___ ___ ___
         Monahans, TX 79756
       _________________________________________________________________                                          _________________________________

  21 Michael Peralta
4.__                                                                                                              3.96
                                                                                                             Line _____
       ___________________________________________________________________________________________________
         317 S. Brand Blvd.
       _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

        Glendale, CA 91204
     _________________________________________________________________                                            _________________________________

  22   Geoffrey C. Price                                                                                          3.41
4.__                                                                                                         Line _____
     ___________________________________________________________________________________________________

         6010 Balcones Drive, Suite 100
       _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

         Austin, TX 78731
       _________________________________________________________________                                          _________________________________

   23
4.__     Jason Michael Rosado - Greenberg, Grant & Richards, Inc.                                                 3.56
                                                                                                             Line _____
       ___________________________________________________________________________________________________
         5858 Westheimer Rd., Suite 500
       _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

         Houston, TX 77057
       _________________________________________________________________                                          _________________________________

  24 Eric Bates - Adams, London & Weiss LLC
4.__
                                                                                                                  3.59
     ___________________________________________________________________________________________________
                                                                                                             Line _____
       P.O. Box 37428
     _________________________________________________________________                                       "    Not listed. Explain ________________   ___ ___ ___ ___
       Houston, Texas 77237-0428
     _________________________________________________________________                                            _________________________________

  25 James E. Atwood - Atwood & McCall, PLLC
4.__
                                                                                                                  3.56
    ___________________________________________________________________________________________________
                                                                                                             Line _____
      4144 N. Central Expressway, Suite 910                                                                                                              ___ ___ ___ ___
       _________________________________________________________________                                     "    Not listed. Explain ________________
         Dallas, TX 75204
       _________________________________________________________________                                          _________________________________



                                                                                                                                                                       24   26
       Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                page __ of ___
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                San Gabriel Resources    Filed 05/04/16 Entered 05/04/16 14:58:51 Main16-10433-tmd  Document Pg 26 of
  Debtor        _______________________________________________________    Case number (if known)_____________________________________
                Name                                                    31
 Part 3:        Additional Page for Others to Be Notified About Unsecured Claims


          Name and mailing address                                                                           On which line in Part 1 or Part 2 is the    Last 4 digits of
                                                                                                             related creditor (if any) listed?           account number,
                                                                                                                                                         if any
  26
4.__     Darrell W. Corzine - Kelly, Morgan, Dennis, Corzine & Hanson, P.C.                                      3.86
                                                                                                             Line _____ &   3.40
       ___________________________________________________________________________________________________
         P.O. Box 1311                                                                                                                                   ___ ___ ___ ___
       _________________________________________________________________                                          Not listed. Explain ________________
         Odessa, TX 79760
       _________________________________________________________________                                         _________________________________

  27 Richard J. Judge, Jr. - Ward Law Firm
4.__
                                                                                                                  3.69
                                                                                                             Line _____
       ___________________________________________________________________________________________________

        10077 Grogan's Mill Road, Suite 450
       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___
        The Woodlands, TX 77380                                                                                  _________________________________
       _________________________________________________________________
 28 Lisa R. Aquino - Dore Law Group, P.C.                                                                          3.70
4.__                                                                                                         Line _____
   ___________________________________________________________________________________________________
        17171 Park Row, Suite 160
       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

        Houston, TX 77084
       _________________________________________________________________                                         _________________________________

   29
4.__     Mark A. Padon - LeclairRyan                                                                              3.74
                                                                                                             Line _____   & 3.75
       ___________________________________________________________________________________________________
         1233 West Loop S. #100
       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___
         Houston, TX 77027                                                                                       _________________________________
       _________________________________________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________




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          16-10433-tmd
               San Gabriel Doc#9
                             Resources Filed  05/04/16 Entered 05/04/16 14:58:51 Main 16-10433-tmd
                                          L.L.C.                                                  Document Pg 27 of
 Debtor       _______________________________________________________    Case number (if known)_____________________________________
              Name                                                   31
Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                      Total of claim amounts


                                                                                                        0.00
5a. Total claims from Part 1                                                               5a.        $_____________________________




                                                                                                         11,672,446.30
5b. Total claims from Part 2                                                               5b.   +    $_____________________________




5c. Total of Parts 1 and 2                                                                                11,672,446.30
                                                                                           5c.        $_____________________________
   Lines 5a + 5b = 5c.




                                                                                                                                    26
   Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                              26
                                                                                                                               page __ of ___
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                                                   31

 Fill in this information to identify the case:

                     San Gabriel Resources L.L.C.
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                                         Western                                                 Texas
 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                                                                 (State)
 Case number (If known):              16-10433-tmd
                                      _________________________


                                                                                                                                                                                                Ï Check if this is an
                                                                                                                                                                                                "
                                                                                                                                                                                                   amended filing




Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:                                                                                                                                                                         0.00
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B.....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                                11,486,059.40
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                                    11,486,059.40
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B.....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: CreditorsWho Have ClaimsSecured by Property (Official Form 206D)
                                                                                                                                                                                                  0.00
     Copy the total dollar amount listed in Column A, Amount of claim, fromline 3 of Schedule D..............................................                                                   $ ________________


3.   Schedule E/F: CreditorsWho Have Unsecured Claims(Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:                                                                                                                                    0.00
           Copy the total claims fromPart 1 fromline 5a of Schedule E/F ....................................................................................                                    $ ________________


     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:                                                                                                                     11,672,446.30
           Copy the total of the amount of claims fromPart 2 fromline 5b of Schedule E/F .........................................................                                          +   $ ________________




4.   Total liabilities...................................................................................................................................................................           11,672,446.30
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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                              UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF TEXAS
                                    ______________DIVISION
                                    AUSTIN



  In Re:                                            §          Case No. ________________________
                                                    §
                                                    §
                                                    §                         7
                                                                 Chapter ___________
        San Gabriel Resources LLC
         _____________________                      §




                              LIST OF CREDITORS VERIFICATION


  The above named debtor(s) hereby verifies that the attached list of creditors is true and correct to the
  best of their knowledge.


  /s/ Steven Foy                                                             5/4/2016
  _________________________________________________                          ______________________
     Steven Foy                                                              Date
     President, San Gabriel Resources LLC



  ________________________________________________                           ______________________
  Joint Debtor                                                               Date
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                                   AMENDED MATRIX

  PARTIES ADDED

  Grande Communications
  500 Tittle Road, Suite 400
  Lewisville, TX 75056

  Internal Revenue Service
  Centralized Insolvency Office
  P. O. Box 7346
  Philadelphia, PA 19101-7346

  United States Attorney General
  Department of Justice
  950 Pennsylvania Avenue, N.W.
  Washington, D.C. 20530

  United States Trustee
  903 San Jacinto, Suite 230
  Austin, TX 78701

  PARTIES DELETED

  JWL Well Services, Inc.
  C/o Robert K. Whitt
  3300 N. A St., Bldg. 2-101
  Midland, TX 79705-5436

  Kelly Hart & Hallman LLP
  201 Main St., Suite 2500
  Fort Worth, TX 76102-3194

  ADDRESS CHANGES TO EXISTING PARTIES

  Anderson Perforating, Ltd.
  C/o Colton Johnson
  P.O. Box 2169
  Albany, TX 76430

  LJA Hotshot Service
  1407 W. Lea St.
  Hobbs, NM 88240

  Renegade Torque and Test
  2303 Willow Pass Dr.
  Kingwood, TX 77339
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  RTO Sales & Leasing, Inc.
  1200 South John Ben Shepherd Pkwy
  Odessa, TX 79766

  Smith International, Inc.
  16740 Hardy Rd.
  Houston, TX 77032-1125

  Smith International, Inc.
  C/o Holly C. Hamm
  Snow Spence Green LLP
  2929 Allen Pkwy., Suite 2800
  Houston, TX 77019

  Terratek d/b/a Terratek, Inc.
  100 Gillingham Ln.
  Sugar Land, TX 77478

  Thomas Energy Services, LLC d/b/a Thomas Tool, LLC
  1310 Rankin Road
  Houston, TX 77073

  Wadeco Specialties, Inc. d/b/a Wadeco Energy Specialties Inc.
  8115 W. Industrial Ave.
  Midland, TX 79706
